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                   UNITED STATES DISTRICT COURT
               IN THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BRIAN PLAIR,

      Plaintiff,
                                               CIVIL ACTION FILE NO.:
v.                                             __________________________

INTERACTIVE                                    JURY TRIAL DEMANDED
COMMUNICATION
INTERNATIONAL, INC. AND
INTERACTIVE
COMMUNICATION
INTERNATIONAL CANADA,
INC.

      Defendant.

                         COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff Brian Plair, by and through his undersigned

counsel, files this Complaint for Damages, showing the Court as follows:

                        I.     JURISDICTION AND VENUE

                                          1.

      This Court has jurisdiction over the subject matter of this action pursuant to

31 U.S.C. § 6711 et seq., 42 U.S.C. § 1331, 42 U.S.C. § 2000e et seq. and 29

U.S.C. § 621 and 623(c), in addition to the ancillary, pendant and the supplemental

jurisdiction of the Court over state claims.




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                                         2.

       Venue lies in the Northern District of Georgia because Defendants have their

primary place of business in Atlanta, GA where the act complained of took place.

                                   II.   PARTIES

                                         3.

       Plaintiff, Brian Plair, a former employee of Defendants, resides at 160 High

Place Court, Decatur, GA 30032.

                                         4.

       Upon information and belief, Defendants are a corporation organized and

existing under the laws of Georgia with its principal place of 250 Williams Street,

Suite 5-2002, Atlanta, GA 30303 (hereinafter the “Company”).

                                         5.

       At all times relevant Defendants were qualified and licensed to do business

in Georgia and at all times material hereto has conducted business within this

District.

                                         6.

       Defendants can be served through their registered agent at: Corporate

Service Company, 2 Sun Court, Suite 400, Peachtree Corners, GA 30092.




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                         III.   FACTUAL ALLEGATIONS

                                         7.

      Plaintiff is a 35 year old Transgender African-American Female.

                                         8.

      On or about September 18, 2017, Plaintiff began working for Defendants as

a Back Office Data Administrator.

                                         9.

      Upon information and belief, Defendants became aware of Plaintiff’s

transgender identify subsequently after Plaintiff was hired.

                                         10.

      On or about January 8, 2020, Plaintiff informed her acting supervisor and

Senior Director of Card Production, Ms. Elisha Schmookler (hereinafter “Ms.

Schmookler”), that she was applying for another internal position in the Company.

                                         11.

      Subsequently thereafter, Plaintiff requested leave from work from January

24, 2020 to January 28, 2020 and in response to her prior request to apply for

another internal position, Ms. Schmookler commenced her disparaging treatment

towards Plaintiff. This event marked the beginning of Ms. Schmookler’s harassing

and unprofessional conduct towards Plaintiff.




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                                        12.

      On or about February of 2020, Ms. Schmookler placed Plaintiff on a

Performance Improvement Plan (“PIP”) for various performance issues; however,

the alleged performance issues Plaintiff was being accused of was feigned and the

true reason Plaintiff was placed on a PIP was due to Mrs. Schmookler’s retaliation

towards Plaintiff for applying for another position within the company. Plaintiff

possesses a series of evidentiary support that shows Ms. Schmookler’s retaliatory,

discriminatory and harassing treatment towards Plaintiff.

                                        13.

      On or about February of 2020, Plaintiff made a formal complaint against

Ms. Schmookler to the company’s Human Resources Manager Ms. Lauren Rhodes

(hereinafter “HR”). Amongst various discriminatory and harassing practices she

averred in her complaint against Ms. Schmookler to HR was an incident in July of

2019 in which Ms. Schmookler compelled Plaintiff to attend a music concert with

her and while at said music concert, Ms. Schmookler grabbed Plaintiff, motioned

close to her and made various flirtatious comments about Plaintiff’s anatomy.

Plaintiff immediately reported this incident to HR the next day. That incident was

one of many incidents in which Ms. Schmookler continued her sexual harassment

of Plaintiff from July of 2019 to December of 2019.




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                                        14.

      On or about March 12 of 2020, Plaintiff met with HR to discuss the results

of their investigation regarding Plaintiff’s Complaint against Ms. Schmookler and

was informed that HR’s investigation found no evidence of discrimination,

retaliation or harassment. HR’s determination of non-discrimination towards

Plaintiff was concluded even though Plaintiff provided a substantial amount of

corroborating evidentiary support.

                                        15.

      Instead of taking corrective actions against Ms. Schmookler, HR permitted

the continued retaliation against Plaintiff and did not remedy the discriminatory

practices.

                                        16.

      On or about March 16 of 2020, HR met with Plaintiff and Plaintiff requested

to be transferred to another department within the Company or report to another

manager. HR informed her that her only option moving forward was to continue

working in her current position with Ms. Schmookler and declined all other

reasonable options. Given the continued discriminatory practices against Plaintiff,

she protested against that option and was immediately terminated.




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          IV.    COUNT I: VIOLATION OF 42 U.S.C. § 1981 RACE

                               DISCRIMINATION

                                        17.

      Plaintiff hereby incorporates Paragraph 1 through 16 above as if set forth

fully herein.

                                        18.

      Defendants’ subjected Plaintiff to discrimination, retaliation and harassment

on the basis of his race.

                                        19.

      Defendants’ actions in subjecting Plaintiff to different terms and conditions

to employment constitutes unlawful discrimination on the basis of race in violation

of 42 U.S.C. § 1981.

                                        20.

      The effect of Defendant’s conduct was to deprive Plaintiff of economic

opportunities and otherwise adversely affect Plaintiff‘s status as an employee

because of her race.

                                        21.

      As a direct and proximate result of these actions, Plaintiff has been made a

victim of acts that adversely affected her psychological and physical well being.




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                                         22.

      Defendants have willfully and wantonly disregarded Plaintiff’s rights and

Defendants’ discrimination against Plaintiff was undertaken in bad faith.

Defendant chose not to take appropriate remedial steps to prevent or correct the

racial harassment

                                         23.

      As a direct and proximate result of the Defendants’ unlawful discriminatory

practices, Plaintiff has suffered emotional harm for which she is entitled to recover

lost wages, compensatory and punitive damages and attorney’s fees from the

Defendants.

    V.     COUNT II: VIOLATION OF 42 U.S.C. § 1981 RETALIATION

                                         24.

      Plaintiff hereby incorporates Paragraph 1 through 23 above as if set forth

fully herein.

                                         25.

      Plaintiff engaged in protected conduct when she complained about race and

sex-based discrimination and harassment.

                                         26.

      Defendant’s subjected Plaintiff to adverse employment actions after she

engaged in protected conduct.


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                                         27.

      There was a causal connection between the protected conduct and the

adverse action.

                                         28.

      As a direct and proximate result of these actions, Plaintiff has suffered

damages.

                                         29.

      As a direct and proximate result of the Defendants’ unlawful retaliation

practices, Plaintiff has suffered emotional harm for which she is entitled to recover

lost wages, compensatory and punitive damages and attorney’s fees from the

Defendants.

COUNT III: VIOLATION OF 42 U.S.C. § 1981 SEX DISCRIMINATION

                                         30.

      Plaintiff hereby incorporates Paragraph 1 through 29 above as if set forth

fully herein.

                                         31.

      Plaintiff is 35 year old African-American Transgender Male. Plaintiff was

terminated of her employment by Defendants. Upon information and belief,

Defendants became aware of Plaintiff’s transgender identify subsequently after

Plaintiff was hired.


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                                         32.

      At or about the time of Plaintiff’s termination, Defendants engaged in a

course of conduct designed to systematically eliminate Plaintiff because of her

gender selection.

                                         33.

      Sex was a motivating factor and but for Plaintiff’s sex, Defendants would

not have discharged against the Plaintiff.

                                         34.

      Said termination was willful and wanton and was an intentional

discriminatory act against Plaintiff’s employment.

                                         35.

      Plaintiff filed a Complaint with the Equal Employment Opportunity

Commission, which issued Plaintiff a ninety (90) day letter on March 18, 2021,

copies of which are attached herein as Exhibit A.

                                         36.

      In taking adverse employment actions against Plaintiff, Defendants failed to

follow their own written policies and procedures, in violation of Plaintiff’s

personal and property rights in her continued employment.




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                                            37.

        As a direct and proximate result of the sex discrimination by Defendants,

Plaintiff has sustained a loss of benefits and incidental expenses, as well as front

pay and benefits.

                                            38.

        As a direct and proximate result of the Defendants’ unlawful discriminatory

practices, Plaintiff has suffered emotional harm for which she is entitled to recover

lost wages, compensatory and punitive damages and attorney’s fees from the

Defendants.

        WHEREFORE, PLAINTIFF prays for the following relief:

     a. That Plaintiff have a trial by jury on all issues;

     b. That Plaintiff have and recover from Defendants Plaintiff’s expenses of

        litigation, including but not limited to, cost and reasonable attorney’s fees as

        provided by law;

c.      That Plaintiff be awarded compensatory damages, special damages and

        general damages for pain and suffering, lost earnings and others in a sum

        and amount to be shown at trial in accordance with the enlightened

        conscience of an impartial jury; and

     d. That Plaintiff has such other and further relief as this Honorable Court

        deems just and proper under the circumstance.


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  Respectfully submitted this 15 day of June 2021.

                                                 /s/ Nathaniel J. Middleton
                                                 Nathaniel J. Middleton, Esq.
                                                 Georgia State Bar No.: 504909


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                            Exhibit A

                          EEOC Filing




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